  Case: 3:25-cv-50017 Document #: 152 Filed: 06/09/25 Page 1 of 27 PageID #:2981




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                           WESTERN DIVISION

 Federal Trade Commission, et al.,

                  Plaintiffs,                                   Case No.: 25-cv-50017

         v.                                                     Judge Iain D. Johnston

 Deere & Co.,
                  Defendant.



                           MEMORADUM OPINION AND ORDER
       Sequels so rarely beat their originals that even the acclaimed Steve Martin

couldn’t do it on three tries. See Cheaper by the Dozen II, Pink Panther II, Father of

the Bride II. 1 Rebooting its earlier production, Deere sought to defy the odds. To be

sure, like nearly all sequels, Deere edited the dialogue and cast some new characters,

giving cameos to veteran stars like Humphrey’s Executor. But ultimately the plot felt

predictable, the script derivative. Deere I received a thumbs-down, and Deere II fares

no better. The Court denies the Motion for judgment on the pleadings.

                                             ***

Background 2

       The “largest manufacturer of agricultural equipment in the United States,”

Deere “dominat[es]” the large tractor and combines market. Dkt. 138 ¶ 35. This




1 But see Terminator II.
2 The Court accepts the following allegations as true to decide this Motion.




                                              1
  Case: 3:25-cv-50017 Document #: 152 Filed: 06/09/25 Page 2 of 27 PageID #:2982




equipment, costing hundreds of thousands of dollars, is indispensable to the

production of numerous staple crops. Id. ¶ 33. When purchasing new equipment,

farmers can’t “calculate lifecycle pricing—that is fully determine in advance the total

cost” for repairs and parts over the machine’s lifetime. Id. ¶ 75.

       Today’s farm equipment relies on devices called Electronic Control Units

(“ECUs”), essentially “small computers that monitor and control particular

functions.” Id. ¶ 88. So, what happens when a farmer’s tractors aren’t working right?

Once upon a time, the farmer could repair her machines on her own or take them to

local technicians (Independent Repair Providers or “IRPs”). Id. ¶ 89. But, today,

even Spicoli’s old man’s ultimate set of tools couldn’t fix it. Instead, to diagnose and

fix problems, the equipment requires an “interactive software” that can communicate

with the equipment’s onboard ECUs. Id. ¶ 7.

       Deere developed such a tool, which it calls “Service ADVISOR.” Id. The

software can perform diagnostic tests, identify and clear error codes, and access

Deere’s troubleshooting database. Id. ¶ 49. The device is “critical” in fully diagnosing

problems and completing repairs.          Id. ¶ 51.     Indeed, some repairs—what the

Governments 3 call “restricted repairs”—can only be completed with the Service

ADVISOR software. Id. ¶ 71.




3 Unless otherwise noted, the Court refers to the FTC and the State Plaintiffs collectively as

“Governments.”
                                              2
  Case: 3:25-cv-50017 Document #: 152 Filed: 06/09/25 Page 3 of 27 PageID #:2983




       But not everyone gets that Service ADVISOR tool. Id. ¶ 8. Deere licenses the

product only to its “Authorized Dealers.” 4 Id. These Authorized Dealers sell tractors

and parts, and provide repair services. Id. ¶ 3. Deere doesn’t sell its equipment

directly to farmers. Id. ¶ 38. Though not formally related, “Deere appoints dealers

to act as its authorized dealers, oversees changes to its dealers’ ownership and

business structures, and has contractual rights to terminate any Deere dealer.” Id.

¶ 3.

       In addition to selling and repairing equipment, the Authorized Dealers also

sell replacement parts, including Deere-branded parts, which Deere Dealers are

required to “actively and aggressively promote.” Id. ¶ 3. These Dealers source “the

vast majority” of their parts from Deere. Id. ¶ 84. And, in repairing equipment,

Dealers rely “almost exclusively” on Deere-branded parts. Id. ¶ 85. That’s in contrast

to many DIY Farmers and IRPs, who use generic, cheaper alternatives. Id. ¶¶ 95–

99. Deere and its Dealers reap “massive profits” from these sales. Id. ¶ 86–87.

                                                  ***

       The Governments say there’s a throughline between Deere’s practices:

Farmers have no alternatives because of the system created by Deere, which charges

supracompetitive prices because of the lack of any alternatives. In technologizing its

equipment, Deere makes farmers reliant on Deere’s own ADVISOR software. And,

in only licensing that software to its Authorized Dealers, Deere forces farmers to visit



4 Deere offers its “Customer Service ADVISOR,” a tool with “limited” functionalities to non-

Dealers, but farmers and IRPs “do not consider [it] as a reasonable substitute” for the fully
functional ADVISOR. See id. ¶¶ 48–54.
                                              3
  Case: 3:25-cv-50017 Document #: 152 Filed: 06/09/25 Page 4 of 27 PageID #:2984




those shops instead of using closer, cheaper options. Once in the door, Deere Dealers

sell Deere parts, which are comparable to other brands in quality but higher in price.

And those parts sales, in turn, significantly boost Deere’s profits.

      In January 2025, the FTC and co-Plaintiff States, Arizona, Illinois, Michigan,

Minnesota, and Wisconsin sued, alleging unlawful monopolistic behavior under

Section 2 of the Sherman Act, 15 U.S.C. § 2, and related state statutes. The FTC also

brings unfair competition claims under Section 5 of the FTC Act, 15 U.S.C. § 45(a).

      In 2022, a group of agricultural crop farms and farmers filed an MDL action in

this Court. E.C.F. 22-cv-50188, dkt. 85. That complaint centered on essentially the

same underlying conduct, but invoked more legal theories. This Court denied Deere’s

motion for judgment on the pleadings in that case.

Analysis

      When challenging the sufficiency of a complaint, a motion for judgment on the

pleadings under Rule 12(c) is governed by the same standard as a motion to dismiss

under Rule 12(b)(6). Pisciotta v. Old Nat’l Bancorp., 499 F.3d 629, 633 (7th Cir. 2007).

The complaint must contain only a “short and plain statement of the claim showing

that the pleader is entitled to relief.” F.R.C.P. 8(a)(2). The complaint must give the

defendant fair notice of what the claim is and the grounds upon which it rests.

Piscotta, 499 F.3d at 633. Factual allegations must be enough to raise a right to relief

above the speculative level. Id. (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

(2007)). The court draws all reasonable inferences and facts in the nonmovant’s favor.

Wagner v. Teva Pharms. USA, Inc., 840 F.3d 355, 358 (7th Cir. 2016). The movant


                                           4
  Case: 3:25-cv-50017 Document #: 152 Filed: 06/09/25 Page 5 of 27 PageID #:2985




bears the burden of establishing a complaint’s insufficiency. Gunn v. Cont’l Cas. Co.,

968 F.3d 802, 806 (7th Cir. 2020).

       Deere argues that the Governments’ monopolization and unfair competition

claims are insufficient, both factually and legally. Deere also challenges the FTC’s

constitutional structure, the States’ standing, and the timeliness of the States’ claims.

The Court addresses each argument in turn.

       (a)    Section 2 Claim

       Section 2 of the Sherman Antitrust Act imposes liability on “[e]very person who

shall monopolize . . . any part of the trade or commerce among the several states.”

15 U.S.C. § 2. A firm violates Section 2 only when it “both (1) possesses monopoly

power in the relevant market, and (2) engages in the willful acquisition or

maintenance of that power as distinguished from growth or development as a

consequence of a superior product, business acumen, or historic accident.” Viamedia,

Inc. v. Comcast Corp., 951 F.3d 429, 451 (7th Cir. 2020) (citing Verizon Comms., Inc.

v. Law Off. of Curtis V. Trinko, LLP, 540 U.S. 398, 407 (2004)); United States v.

Grinell Corp., 384 U.S. 563, 570–71 (1966). 5

       Before further analysis, the Court will address the Parties’ textual arguments.

Both Deere and the Governments say Section 2’s text supports their positions.

Compare dkt. 110 at 12–13 (Deere focusing on “monopolize”) with dkt. 138 at 10 (the

Governments emphasizing “any part of”). The Court always appreciates textual




5 Deere asserts and the States don’t contest that the States’ respective antitrust laws mirror

the Sherman Act, so the Court doesn’t separately analyze those statutes.
                                              5
  Case: 3:25-cv-50017 Document #: 152 Filed: 06/09/25 Page 6 of 27 PageID #:2986




arguments. But totaling a few words and offering no definitions, the Sherman Act’s

text provides courts with little guidance. Indeed, if it did, cases interpreting those

sentences wouldn’t fill so many reporters. For better or worse, the Court must look

beyond the text.

               (1)   Monopoly Power in the Relevant Market

      The Court considers whether the Governments adequately plead (i) a

cognizable aftermarket, and (ii) that Deere possesses monopoly power in that

aftermarket.

                     (i)   Aftermarket

      “The relevant market for antitrust purposes can be an aftermarket—where

demand for a good is entirely dependent on the prior purchase of a durable good in a

foremarket.” Epic Games, Inc. v. Apple, Inc., 67 F.4th 946, 976 (9th Cir. 2023);

Eastman Kodak Co. v. Image Tech. Servs., Inc., 504 U.S. 451 (1992).                The

Governments allege cognizable aftermarkets for “fully functional repair tools and

restricted repair services.” Dkt. 138 at 4. A plaintiff must only plausibly plead a

market’s “rough contours.” See In re Deere & Co. Repair Servs. Antitrust Litig., 703 F.

Supp. 3d 862, 890 (N.D. Ill. 2023) (“Deere MDL”).

      Deere, like it did in its MDL motion, argues that the Governments fail to plead

a Kodak-qualifying aftermarket. Dkt. 110 at 8–11. And again, the Court “questions”

whether Kodak even applies in this situation. Deere MDL, 703 F. Supp. 3d at 896.

“[T]he issue presented to the Supreme Court [in Kodak] was whether a defendant’s

lack of market power in the primary equipment market precludes—as a matter of



                                          6
  Case: 3:25-cv-50017 Document #: 152 Filed: 06/09/25 Page 7 of 27 PageID #:2987




law—the possibility of market power in derivative aftermarkets.” Id. at 891. The

Governments, however, allege that Deere is the “leading manufacturer” and holds a

“dominant” position in the tractor (i.e. fore) market. Dkt. 44 ¶ 3. As the Governments

note, at least one other court similarly believes Kodak doesn’t apply in these

scenarios. See Lambrix v. Tesla, Inc., 737 F. Supp. 3d 822, 840 (N.D. Cal. 2024).

Deere says Tesla’s just a “single out-of-circuit district court decision.” Dkt. 149 at 5.

But Tesla is in addition to this Court’s decision in the MDL case, identically analyzing

Kodak.

       Regardless, the Governments adequately plead a Kodak aftermarket. As a

refresher, under Kodak, the aftermarket analysis focuses on “two interrelated

circumstances,” either of which can create a cognizable aftermarket. Deere MDL at

892. The first is a “bait-and-switch” scenario, in which a company sells an expensive

product in the foremarket and then changes its repair policies. See id. The second

“involves the inability of the customer to determine [the] ‘all in cost’ or ‘life cycle’ cost

for the product.” Id. A change in policy is “one way” to satisfy Kodak, but it’s not the

“exclusive means of doing so.” Id. at 899.

       The Governments allege that, at the initial purchase time, “Deere’s customers

cannot calculate lifecycle pricing—that is, fully determine in advance the total cost of

ownership over the life of the equipment, which includes the costs of repairs and parts

over time.” Dkt. 44 ¶ 75. Nor does Deere “make the lifecycle pricing information that

it has available to customers.” Id. Various factors, the Governments say, make it

impossible to “estimate with certainty” repair costs and service requirements. Id.



                                             7
  Case: 3:25-cv-50017 Document #: 152 Filed: 06/09/25 Page 8 of 27 PageID #:2988




      Deere says “[t]hose allegations do not plausibly demonstrate a lack of

‘awareness regarding Deere’s aftermarket restrictions.’” Dkt. 149 at 4 (citing Deere

MDL at 899). That’s especially the case, Deere says, because the Governments allege

that Deere’s practices have “persisted ‘for decades.’” Dkt. 110 at 9. Indeed, the first

two words in the Governments’ complaint are “For decades.” So, “[t]here can be no

customer lock-in, and no single-brand aftermarket,” Deere asserts, when “customers

purchased their equipment with full knowledge of Deere’s repair practices.” Id.

Deere effectively made the same argument in the MDL case, arguing that “everybody

knew” about Deere’s policies. See Deere MDL at 894.

      The Court understands and recognizes Deere’s argument—especially in light

of the Governments’ own allegations—but disagrees these allegations are dispositive

of the whole action, entitling Deere to judgment on the pleadings. Even if some

farmers knew about the restrictions (a fact question), they might not be aware of or

appreciate at the purchase time how those restrictions will affect them. For example:

How often will repairs require Deere’s ADVISOR tool? How far will they need to

travel to find an Authorized Dealer? How much extra will they need to pay for Deere

parts? And, in any event, “[f]rom a practical perspective, the relevance of information

costs, switching costs, and general knowledge of restrictions is reduced where a

defendant has market power in the foremarket.” Tesla, Inc., 737 F. Supp. 3d at 841.




                                          8
  Case: 3:25-cv-50017 Document #: 152 Filed: 06/09/25 Page 9 of 27 PageID #:2989




Taking the allegations as true and drawing inferences in the Governments’ favor, the

Governments sufficiently plead a cognizable aftermarket. 6

                     (ii)   Market Power

       Next, the Court addresses whether the Governments adequately plead that

Deere holds sufficient market power in the identified repair tools/services markets.

Deere argues that “settled law holds that a firm” can’t monopolize a market in which

it doesn’t compete.” Dkt. 110 at 11–12 (citing out-of-circuit cases).          Deere tried

essentially the same argument in the MDL action, saying it didn’t have power in the

repairs market “because the [d]ealerships—not it—perform the repairs.” See Deere

MDL at 911. First, without clearly defining “compete” or “participate,” Deere’s cited

cases offer little help. To the extent that a firm must “compete” or “participate” in a

market to monopolize it, what do those terms mean and how do they apply in this

case? As discussed more below, the Governments argue that, through its conduct,

Deere effectively participated in—and monopolized—the alleged markets. Perhaps

discovery shows that Deere wasn’t sufficiently involved so that it didn’t “participate”

or “compete” as those terms are used in antitrust law. But those terms suggest

complex fact questions unresolvable at the pleading stage.

       Deere’s cases fall short for other reasons, too. First, like this Court, the Second

Circuit in Discon recognized that “due to the complexity of modern business

transactions . . . easy labels do not always supply ready answers.” 93 F.3d 1055, 1059


6 The Court folds Deere’s argument that “there can be no aftermarket under Kodak where

the defendant does not participate in the aftermarket” into the next section on aftermarket
monopoly power. Both arguments involve what it means to “participate” in a market, so it
makes sense to tackle them together.
                                             9
 Case: 3:25-cv-50017 Document #: 152 Filed: 06/09/25 Page 10 of 27 PageID #:2990




2d. Cir. 1996) (citing Broadcast Music Inc. v. Columbia Broad. Sys., Inc., 441 U.S. 1,

8 (1979)).     Moreover, though the Second Circuit affirmed the monopolization

dismissal, it reversed on the “Conspiracy to Monopolize” theory. Discon, 93 F.3d at

1062. In other words, it found a plausible Section 2 violation, albeit on a different

legal theory.      As discussed more below, this Court doesn’t believe that the

Governments must include a “conspiracy” label to survive dismissal.

         Next, Intergraph Corp. v. Intel Corp., which involved a more distant

relationship but broadly supports Deere’s position, was vacated on a preliminary

injunction standard. 195 F.3d 1346 (Fed. Cir. 1999). A “likelihood of success” is a

higher bar than mere plausibility. Ushery v. Antonelli, 21-cv-611, 2022 U.S. Dist.

LEXIS 77531, at *5 (M.D. Fla. Apr. 27, 2022) (“That Plaintiff may have stated a

plausible claim against one or more Defendants does not mean he has demonstrated

a likelihood of success on the merits of such a claim.”); see also Ill. Republican Party

v. Pritzker, 973 F.3d 760 (7th Cir. 2020). Finally, the defendant in Aquatherm Indus.,

Inc. v. Fl. Power & Light Co., 145 F.3d 1258 (11th Cir. 1998) bears no resemblance to

Deere.     In that case, a defendant energy provider encouraged the public to use

swimming pool heaters, “sole[ly] . . . to increase the use of electrical power.” Id. at

1260. Unlike Deere, who allegedly benefits substantially from and holds contractual

relationships with its Dealers, the Aquatherm defendants was not involved at all in

the heater market. Id.

         Those distinguishable cases aside, this Court still believes that the “the issue

is not whether Deere is a seller of Repair Services. Instead, the issue is whether



                                            10
 Case: 3:25-cv-50017 Document #: 152 Filed: 06/09/25 Page 11 of 27 PageID #:2991




Deere has monopoly power in the relevant market. This is determined by showing

that Deere could control prices or exclude competition.” Id. (citing Grinnell Corp.,

384 U.S. at 571). Like the MDL plaintiffs, the Governments “easily” allege sufficient

power. “Through its limited distribution of the repair tool,” the Governments allege,

“Deere controls entry into, and limits output in, the provision of such services. Dkt.

44 ¶ 11. Consequently, “Deere’s dealers are able to maintain a 100% market share

and charge supracompetitive prices for restricted repairs.” Id.; see also id. ¶¶ 8–11,

110–12.

      Nevertheless, Deere says the Court must dismiss the Complaint, because

unlike the MDL plaintiffs, these Plaintiffs don’t explicitly allege a conspiracy, so

there’s no “participation.” Dkt. 110 at 13–14. The Court doesn’t believe magic words

are relevant—let alone determinative—in antitrust analysis. As the Court stressed

last time, “[c]ourts should look at substance over labels,” because “labels and

antitrust law don’t mix.” Deere MDL at 903 (citing Siva v. Am. Bd. of Radiology, 38

F. 4th 569, 572 (7th Cir. 2022). Functionally, the market power analysis focuses on

whether the defendant has the “power to control prices or exclude competition.”

Grinnell Corp., 384 U.S. at 571. So long as a plaintiff plausibly alleges such control,

how the defendant exerts it isn’t meaningful at this stage under Section 2.

      Defining “participate” too formally, Deere’s theory isn’t persuasive. It’s true

that Deere leaves repair services and parts sales to Authorized Dealers (whom Deere

“oversees” and may “terminate,” dkt. 44 at 3). But, accepting the allegations as true,

Deere “reaps massive profits” from its parts business, which relies on those



                                          11
 Case: 3:25-cv-50017 Document #: 152 Filed: 06/09/25 Page 12 of 27 PageID #:2992




Authorized Dealers’ repairs. And because only Deere can create and license the

ADVISOR tool, it entirely controls who (and how many) Dealers may perform

restricted repairs and, by extension, how much the Dealers can charge. All that

control is irrelevant, Deere essentially says, as long as Deere keeps its Dealers at

some nominal distance.

      Maybe not in the same words or even the same number of words, but in

substance, the Governments and the MDL plaintiffs advance identical theories

supporting their respective claims—setting aside the fact that theories aren’t need at

this stage. Both assert that Deere, via its Authorized Dealers, holds enough power

to control prices and exclude competition. And they both allege that Deere financially

benefits from its arrangements with the Dealers. So, the Governments functionally—

although not formally—allege the same market participation.

      All of this leads to a related question: What’s the goal? Say the Court dismisses

because the Governments’ complaint failed to use the word “conspiracy.” Such a

dismissal would surely be without prejudice. See Foster v. DeLuca, 545 F.3d 582, 584

(7th Cir. 2008) (“[District courts] generally dismiss the plaintiff’s complaint without

prejudice and give the plaintiff at least one opportunity to amend her complaint.”);

see also Zimmerman v. Bornick, 25 F. 4th 491, 493–94 (7th Cir. 2022) (“What most

concerns us is the district court’s failure not to allow Zimmerman an opportunity to

try again by filing an amended complaint.”). Under Deere’s theory, the Governments

need only adopt the MDL plaintiffs’ vocabulary to similarly survive a motion to

dismiss. That’s an illogical result at odds with antitrust law’s focus on substance over



                                          12
 Case: 3:25-cv-50017 Document #: 152 Filed: 06/09/25 Page 13 of 27 PageID #:2993




form. Because the Governments, like the MDL plaintiffs, assert that Deere can

control prices and exclude competition, it adequately alleges that Deere holds market

power.

             (2)    Anticompetitive Conduct

      The Court now considers whether the Governments adequately allege that

Deere engages in anticompetitive conduct by limiting access to its fully functional

repair tool. To avoid the result in the MDL case, Deere again focuses on labels,

contenting that the Governments must slot its theory into a recognized antitrust

category.   For the same above reasons—essentially that function beats form in

antitrust matters—the Court rejects Deere’s arguments.

      Section 2 bars monopolists from using their monopoly power to foreclose

competition, gain competitive advantage, or destroy competitors. See Kodak, 504 U.S.

at 482–83. Courts have developed “categories,” such as “refusal to deal,” “predatory

pricing,” and “tying,” to help illustrate how monopolists unlawfully wield their power.

But remember pleading “categories”—like pleading theories—isn’t required. Alioto

v. Town of Lisbon, 651 F.3d 715, 721 (7th Cir. 2011) (“[W]e have stated repeatedly

(and frequently) that a complaint need not plead legal theories. . .”); see Whitaker v.

Milwaukee County, 772 F.3d 897, 808 (7th Cir. 2014). “Rule 8(a) does not require

plaintiffs to ‘pin’ their claim for relief to any particular legal theory at the pleading

stage.” Zimmerman, 25 F. 4th at 493. Indeed, even specifying an incorrect legal

theory is not fatal. Rabe v. United Airlines, Inc., 636 F.3d 866, 872 (7th Cir. 2011).




                                           13
 Case: 3:25-cv-50017 Document #: 152 Filed: 06/09/25 Page 14 of 27 PageID #:2994




      What’s more, the Seventh Circuit explained that “[a]t bottom, the purpose of

identifying these categories . . . is to help determine the presence or absence of

harmful effects, which are both the reason for any antitrust concern and often the

simplest element to disprove.” Viamedia, 951 F.3d at 453 (citations omitted). So,

though courts may start by assessing how conduct fits within a recognized category,

they “should stay focused on the effect” the conduct has on competition. Id. (emphasis

added); accord Duke Energy Carolinas, LLC v. NTE Carolinas II, LLC, 111 F.4th 337

(4th Cir. 2024) (“Section 2 focuses on anticompetitive conduct, not on court-made

subcategories.”); Deere MDL at 903 (“[L]ooking at substance over form is a consistent

theme in antitrust and prevents the broad prohibitions imposed by the antitrust laws

from being circumvented.”) (quoting Daniel A. Hanley, Per Se Illegality of Exclusive

Deals and Tyings with Fair Competition, 37 Berkeley Tech. L.J. 1057, 1067 n.47

(2022)).

      Just as a certain conduct could fit within multiple categories, it’s unsurprising

that anticompetitive conduct “cannot always be categorized” at all. Duke Energy, 111

F.4th at 354. As the Supreme Court long ago recognized, “there is no limit to business

ingenuity and legal gymnastics.” Atl. Refining Co. v. F.T.C., 381 U.S. 357, 367 (1965).

“Thus, when a court is faced with allegations of a complex or atypical exclusionary

campaign, the individual components of which do not fit neatly within pre-established

categories, its application of such specific conduct tests would prove too rigid.” Duke

Energy, 111 F.4th at 354. “[T]he scheme or conduct must be considered as alleged,

not in manufactured subcategories.” Id. at 355.



                                          14
 Case: 3:25-cv-50017 Document #: 152 Filed: 06/09/25 Page 15 of 27 PageID #:2995




          The Governments and the MDL plaintiffs allege substantively identical

anticompetitive conduct. Both assert that, to fully repair Deere equipment, farmers

require the Deere ADVISOR tool. Deere, however, only makes that tool available to

its Authorized Dealers, forcing customers to a single source for repairs.          That

arrangement drives Deere’s profits and sustains its monopoly power, while leading

to higher prices and fewer options. On those allegations, the Court found that the

MDL plaintiffs plausibly alleged anticompetitive behavior. Without elevating form

over substance (which is inappropriate at this stage), the Court can’t reach the

opposite conclusion on this Motion.

          The Court rejects Deere’s argument that the Governments must slot Deere’s

behavior into a certain antitrust category at this stage. So, it doesn’t decide whether

the allegations meet a particular definition. However, Deere seems to skip some steps

in the refusal to deal analysis. As a “general rule . . . even monopolists are free to

choose the parties with whom they will deal.” Viamedia, 951 F.3d at 454 (citing

United States v. Colgate & Co., 250 U.S. 300, 307 (1919) (cleaned up)). First, as the

Governments note, Deere might owe some duty to its farmer–customers, if not its

rivals.     Deere, in Reply, says the Governments unfairly treat the farmers as

competitors for some purposes and customers for others. Perhaps. More importantly,

however, the Colgate Court qualified its general rule, prefacing it with “In the absence

of any purpose to create or maintain a monopoly.” See Viamedia, 951 F.3d at 454

(emphasis in Viamedia) (cleaned up). In other words, if the monopolist acts with the

intent to maintain a monopoly, then the general rule doesn’t apply and courts may



                                          15
 Case: 3:25-cv-50017 Document #: 152 Filed: 06/09/25 Page 16 of 27 PageID #:2996




examine the refusal to deal. The Court, at this stage, can’t possibly ascertain Deere’s

intent in limiting its ADVISOR tool. It may only accept the Governments’ version as

true and make reasonable inferences based on it. When it does so, the Governments

sufficiently allege either via a refusal to deal theory or otherwise that Deere acts

unlawfully.

                                                ***

      “[E]ven after Iqbal and Twombly, the purpose of a complaint is to put the

defendant on notice of the claims against it, not to prove its case.” Deere MDL at 910.

(citing Bausch v. Stryker Corp., 630 F.3d 546, 559 (7th Cir. 2010)). Notice pleading

requires fair notice to defendants.     It can’t be reasonably argued that Deere is

scratching its metaphorical head and muttering, “I wonder what the Governments

are complaining about?” If Deere’s position is that it knows what the Governments

are complaining about but that those complaints are not legally cognizable, the Court

disagrees, as it has already found. The Court could be wrong in this regard but

redressing any error in this regard is for either a later stage or a different court. The

Governments likely need to sharpen their theories—and, of course, present

admissible evidence supporting those theories—to survive summary judgment, but

the Complaint plausibly raises a Section 2 violation.

      (b)     FTC Act Claim

      The FTC also alleges that Deere violated Section 5(a) of the FTC Act,

prohibiting unfair methods of competition. 15 U.S.C. § 45(a). The Court found a

plausible Sherman Act violation, so the FTC necessarily alleges a plausible Section



                                           16
 Case: 3:25-cv-50017 Document #: 152 Filed: 06/09/25 Page 17 of 27 PageID #:2997




5(a) violation, too. FTC v. Actavis, 570 U.S. 136, 145 (2013) (Section 5 “encompasses”

the Sherman Act). In this case, the analyses also merge into one another, both

turning on whether the Governments, at this stage, must slot Deere’s conduct into a

particular category (no) and alternatively whether Deere may refuse to deal under

the circumstances (plausibly no).

       In any event, as Deere concedes, the FTC Act is at least “in limited respects”

broader than the Sherman Act. Dkt. 110 at 22. As the Supreme Court explained,

“[i]n a broad delegation of power the [FTC Act] empowers the Commission, in the first

instance, to determine whether a method of competition or the act or practice

complained of is unfair.” Atl. Refining, 381 U.S. at 367. “While the final word is left

to the courts,” id.; Loper Bright Enters. v. Raimondo, 603 U.S. 369 (2024), courts give

“great weight to the Commission’s conclusion.” Atl. Refining, 381 U.S. at 368.

       The FTC adequately alleges an “unfair” competition claim, when it plausibly

suggests (1) market power, (2) exercise of that power, and (3) that anticompetitive

effects result from that exercise. See F.T.C. v. Texaco, 393 U.S. 223, 226 (1968). In

this case, the FTC alleges that Deere holds monopoly power in the repair tools and

services aftermarkets, that it exercises that power by limiting access to repair tools

and services, and that higher prices and fewer options result. The FTC further

alleges that Deere’s practices benefit its bottom line. 7 So, the FTC alleges a plausible

Section 5(a) violation.


7 Deere cites a Second Circuit Case, Off. Airline Guides, Inc. v. FTC, 630 F.2d 920 (2d Cir.

1980), that found no duty to deal. For the above reasons—both that the FTC doesn’t need
to slot its allegations into a particular category at this stage and that the “no duty” rule


                                             17
 Case: 3:25-cv-50017 Document #: 152 Filed: 06/09/25 Page 18 of 27 PageID #:2998




       (c)    FTC’s Constitutionality

       The Court next considers whether the FTC can constitutionally bring this suit.

The FTC is (usually) led by five commissioners, all nominated by the President and

confirmed by the Senate. 15 U.S.C. § 41. Under the statute, a President may remove

commissioners only for “inefficiency, neglect of duty, or malfeasance.”          Id.   The

Supreme Court upheld that removal restriction in Humphrey’s Executor, 295 U.S. 602

(1935). “Rightly or wrongly, the [Humphrey’s Executor] Court viewed the FTC (as it

existed in 1935) as exercising ‘no part of the executive power.’” Seila Law LLC v.

Cons. Fin. Prot. Bureau, 591 U.S. 197, 215 (2020) (citing Humphrey’s, 295 U.S. at

628). Instead, the Humphrey’s Court said the FTC was an “administrative body,”

exercising only “quasi-legislative or quasi-judicial powers.” Seila Law, 591 U.S. at

216 (citing Humphrey’s, 295 U.S. at 628).

       In 1973, Congress vested the FTC with more, non-legislative, non-judicial

powers, allowing it to seek injunctive relief in any federal court. FTC Act § 13(b), 15

U.S.C. § 53(b); “Section 13(b).” The ability to bring a lawsuit, the Supreme Court has

indicated, is a uniquely executive function. See United States v. Texas, 599 U.S. 670,

679 (2023) (citing Buckley v. Valeo, 424 U.S. 1, 138 (1976) (“A lawsuit is the ultimate

remedy for a breach of the law, and it is to the President, and not to the Congress,

that the Constitution entrusts the responsibility to ‘take Care that the laws be

faithfully executed.’”)). Over the past fifty years, the FTC has invoked its Section




only applies “in the absence of any” anticompetitive purpose—the Court doesn’t find this
case persuasive.
                                            18
    Case: 3:25-cv-50017 Document #: 152 Filed: 06/09/25 Page 19 of 27 PageID #:2999




13(b) powers at least hundreds of times. 8 All of those, Deere seems to say, were “void

ab initio.” Dkt. 149 at 17.

        In the past decade or so, the Supreme Court has held that the President must

be able to freely remove certain agency officials who exercise executive power. See

Free Ent. Fund v. Public Co. Accounting Oversight Bd., 561 U.S. 477 (2010); Seila

Law, 591 U.S. at 216. Though nominally preserving Humphrey’s Executor, those

recent decisions have largely “repudiated almost every aspect of [it].” Seila Law, 591

U.S. at 239 (Thomas, J., concurring). Humphrey’s Executor may not be deader than

Elvis, but it seems to have at least one foot in the grave. See Trump v. Wilcox, No.

24A966, 2025 U.S. LEXIS 1984 (May 22, 2025) (granting stay because the

government “is likely to show” that the removal provision of the NLRB—a similar

agency—violates the Constitution).

        But even assuming the removal restrictions are unlawful, Deere’s argument

that the proper remedy is to strike down Section 13(b) doesn’t follow. 9            As the

Governments note, “[s]ettled precedent . . . confirms that the unlawfulness of [a]

removal provision does not strip the officer of the power to undertake the . . .

responsibilities of his office.” Collins v. Yellin, 594 U.S. 220, 257–58 (2021). No

Parties argue that the Commissioners were unlawfully appointed, so “[a]lthough the


8
 ‫ك‬See, e.g., F.T.C. v. Rhinechem Corp., 459 F. Supp. 785 (N.D. Ill. 1978); F.T.C. v. Univ.
Health, Inc., 938 F.2d 1206 (11th Cir. 1991); F.T.C. v. Swedish Match, 131 F. Supp. 2d 151
(D.D.C. 2000); F.T.C. v. Pukke, 123 F.4th 162 (4th Cir. 2024); see also FTC, Legal Library:
Cases and Proceedings, FTC.gov.
9 Deere doesn’t argue that the removal restrictions, on their own, are unconstitutional.

Rather, it contends that the removal restrictions combined with the additional executive
powers creates an unconstitutional product. Still, the underlying question remains: What’s
the appropriate remedy?
                                            19
 Case: 3:25-cv-50017 Document #: 152 Filed: 06/09/25 Page 20 of 27 PageID #:3000




statute unconstitutionally limit[s]” the President’s removal power, “there is no reason

to regard any of the actions taken by the [FTC] . . . as void.” Id. at 257–58; see also

Nat’l Lab. Rels. Bd. v. Starbucks Corp., 125 F.4th 78, 87 (3d Cir. 2024) (“The Supreme

Court instructs that where an official’s removal protections are unconstitutional, he

can still carry out his duties, which does not hold true if his appointment was

unconstitutional.”).

      And even if the removal restrictions created constitutional problems, they

haven’t injured Deere, so Deere likely wouldn’t have standing to challenge them.

“[A]fter Collins, a party challenging agency action must show not only that the

removal restriction transgresses the Constitution’s separation of powers but also that

the unconstitutional provision caused (or would cause) them harm.” Bhatti v. Fed.

Hous. Fin. Agency, 97 F.4th 556, 559 (8th Cir. 2024) (citing Cmty. Fin. Servs. Ass’n of

Am., Ltd. v. Consumer Fin. Prot. Bureau, 51 F.4th 616, 632 (5th Cir. 2022)); Leachco,

Inc. v. Consumer Prod. Safety Comm’n, 103 F.4th 748, 756 (10th Cir. 2024); Collins,

594 U.S. at 264 (“The mere existence of an unconstitutional removal provision . . .

generally does not automatically taint government action by an official unlawfully

insulated.”) (Thomas, J. concurring).     In this case, the FTC initially voted to

commence litigation under then-President Biden, and Deere doesn’t assert that he

disagreed with the Commissioners’ judgment. And the current FTC, which believes

its Commissioners are removable at-will, are proceeding with this litigation—at least

for now. So, Deere can’t challenge the removal regime because the provision doesn’t

harm it.



                                          20
 Case: 3:25-cv-50017 Document #: 152 Filed: 06/09/25 Page 21 of 27 PageID #:3001




      Deere didn’t contend with Collins in its opening brief. In Reply, it proposes a

conclusory distinction with no meaningful difference, asserting that Collins doesn’t

apply because that case didn’t involve an amendment that was “void ab initio.”

Despite Collins, Deere asks this Court to void the Section 13(b) amendment and

thereby this action. It says two cases show that’s the proper remedy. In Bowsher v.

Synar, Congress created the Comptroller General position to assist Congress in

budgetary matters. 478 U.S. 714 (1986). Under the governing statute, Congress

retained the power to remove the Comptroller. Id. at 728. Decades later, Congress

vested the Comptroller with new executive powers, including the “ultimate authority

to determine budget cuts to be made.” Id. at 733. The Supreme Court rejected

requests to invalidate the earlier removal provision, striking down the later

executive-power-conferring amendment instead.

      Deere says this Court should do the same: Retain the for-cause removal

restriction and merely excise the FTC’s Section 13(b) enforcement powers, apparently

“limit[ing] the solution to the problem.” Dkt. 110 at 27 (citing Barr, 591 U.S. at 625).

But, as the FTC notes, the Bowsher Court struck the later amendment because

Congress “explicitly” told it do so, enacting a “fallback” provision to preserve the

original Comptroller General statute. Id. at 736. No such clear instruction exists in

this case. It’s true that Congress enacted a severability provision, which Deere says

functions as a command to strike Section 13(b). But as another court in this district

observed “the constitutional problem at issue centers on the interaction of the

Commissioners’ removal protections with the subsequent litigation authority given



                                          21
 Case: 3:25-cv-50017 Document #: 152 Filed: 06/09/25 Page 22 of 27 PageID #:3002




to the agency, not an unconstitutional amendment to an earlier law.” F.T.C. v.

Walmart Inc., 664 F. Supp. 3d 808, 845 (N.D. Ill. 2023) (rejecting an identical

argument and relying on Collins). “In other words, the grant of executive power to

the FTC, standing on its own, isn’t unconstitutional: executive agencies often have

power to sue for penalties or injunctive relief.” Id. So, the severability clause doesn’t

provide any guidance.

      Deere also relies on Barr v. Am. Ass’n of Pl. Consultatnts, Inc., 591 U.S. 631

(2020). In that case, which doesn’t implicate presidential powers, Congress initially

enacted legislation to bar all robocalls. Id. at 614. In a later amendment, Congress

exempted robocalls that were aimed at collecting government debt. The Court struck

down the Amendment—but not the initial statute—finding that it constituted

content-based discrimination and therefore subject to heightened scrutiny. In other

words, unlike the Section 13(b) amendment, the provision in Barr itself violated the

Constitution.

      Further, both Bowsher and Barr involved constitutionally infirm amendments

to otherwise healthy legislation. So, it made sense to amputate those parts. It’s the

reverse in this case: No one questions that an agency, under proper removal regimes,

may bring a Section 13(b)-like enforcement action. But the FTC, Deere, and (likely)

the Supreme Court all believe that the FTC’s removal structure is highly suspect, if

not unconstitutional.    So, it makes no sense to strike down the enforcement

mechanism under these circumstances.




                                           22
 Case: 3:25-cv-50017 Document #: 152 Filed: 06/09/25 Page 23 of 27 PageID #:3003




       For the past fifty years, the FTC has brought Section 13(b) cases hundreds of

times. Deere points to no court that found the Section unconstitutional. The Court

declines the invitation to be the first.

       (d)    States’ Standing

       Deere also contests the States’ standing, “both in their sovereign capacities and

under a parens patriae theory.” Dkt. 110 at 28. In their Response, the States defend

only their parens patriae standing. See dkt. 138 at 35.

       According to the Seventh Circuit, a state will have standing to sue as parens

patriae “where it can ‘articulate an interest apart from the interests of particular

private parties’ and ‘express a quasi-sovereign interest.’” LG Display Co., Ltd. v.

Madigan, 665 F.3d 768, 771 (7th Cir. 2011) (citing Alfred L. Snapp & Son, Inc. v.

Puerto Rico ex rel Barez, 458 U.S. 592, 607 (1982)). Understandably, Deere argues

the States failed on both prongs of this seemingly two-part test. Dkt. 110, at 36–37;

Dkt. 149, at 25. The States primarily respond to the quasi-sovereign interest aspect.

Dkt. 138, at 35-36. As to the aspect that the States’ interest must be apart (meaning

different) from “the interests of particular private parties,” the States simply cite to

Hawaii v. Standard Oil Co., 405 U.S. 251, 261 (1972), which isn’t particularly helpful

in this context.

       If a court were to read LG Display as requiring states to show both that their

interests are separate and distinct from private parties (in this case, the MDL

Plaintiffs) and an express quasi-sovereign interest, Deere has a good point,

particularly in light of the States’ weak response and minimal allegations. But the



                                           23
 Case: 3:25-cv-50017 Document #: 152 Filed: 06/09/25 Page 24 of 27 PageID #:3004




Court has a slightly different reading of LG Display because it specifically relies on

Snapp & Son Inc. v. Puerto Rico, ex rel. Barez, 458 U.S. 592 (1982).

      In Snapp, the Supreme Court ruled that for a state to bring a parens patriae

action, “the State must articulate an interest apart from the interests of particular

private parties, i.e., the State must be more than a nominal party. The State must

express a quasi-sovereign interest.” 458 U.S. at 607. So, these aspects—an interest

apart from private parties and a quasi-sovereign interest—are not separate,

independent requirements. Instead, the later is a way of establishing the former.

Expressing a quasi-sovereign interest is simply a way a state can show that its

interests are separate and distinct from private parties, i.e., that it’s not just a

nominal party.

      States have quasi-sovereign interests in the “health and well-being—both

physical and economic—of its residents in general.” Snapp, 458 U.S. at 607. An

“alleged injury to the health and welfare of its citizens suffices to give the State

standing to sue as parens patriae [if] the injury is one that the State, if it could, would

likely attempt to address through its sovereign lawmaking powers.” LG Display Co.,

665 F. 3d at 771 (quoting Snapp, 458 U.S. at 607).

      As the States note, each of them “has enacted antitrust laws mirroring the

federal antitrust laws.” Dkt. 138 at 28 fn. 7 (collecting statutes). In other words, not

only could the state attempt to address an antitrust injury, they did. That “counsels

in favor of finding” that the states have parens patriae standing. Texas v. Google

LLC, No. 4:20-957, 2025 U.S. Dist. LEXIS 15071, at *58–59 (E.D. Tex. Jan. 28, 2025)



                                            24
 Case: 3:25-cv-50017 Document #: 152 Filed: 06/09/25 Page 25 of 27 PageID #:3005




(finding parens patriae standing in antitrust case). That’s also why Missouri ex. rel.

Koster v. Harris is inapposite. In that case, the States didn’t sue under an antitrust

theory, and therefore couldn’t point to their own legislative attempts to combat

uncompetitive practices. 847 F.3d 646 (9th Cir. 2017). In this case, all of the states

have their own antitrust statutes, indicating that they find violations harmful enough

to require legislation. Deere’s right that an identical antitrust statute alone can’t

create standing without circumventing Article III, but the States also include some

(albeit few) allegations.

      In assessing paren patriae standing, courts must consider the “direct and

indirect effects of the alleged injuries.” LG Display, 665 F.3d at 771. Accepting the

States’ allegations as true and drawing inferences in their favor—as the Court must—

the States plausibly allege unique harms sufficient to survive the pleadings stage.

For example, they assert that Deere’s conduct prevents farmers from “maximiz[ing]

crop yield,” which can harm the states’ food supply, economy, and health outcomes.

See dkt 44 ¶ 12; dkt. 138 at 28–29. So, those allegations, combined with their own

statutes attempting to remedy the antitrust injuries, allow the States to eke out

standing. At later stages, the States will need to establish more. See Lujan v. Defs.

of Wildlife, 504 U.S. 555, 561 (1992) (“Since they are not mere pleading requirements

but rather an indispensable part of the plaintiff’s case, each element must be

supported in the same way as any other matter in which the plaintiff bears the

burden of proof, i.e., with the manner and degree of evidence required at the




                                         25
 Case: 3:25-cv-50017 Document #: 152 Filed: 06/09/25 Page 26 of 27 PageID #:3006




successive stages of the litigation.”). Deere can raise standing again at a later stage

if it believes the States have failed in this regard.

         (e)   Statute of Limitations

         “Now is not the time” to decide statute of limitations issues. Deere MDL at 888

n. 20.     The Seventh Circuit “applie[s] a demanding standard to dismissals on

timeliness grounds at the pleading stage of antitrust cases, asking whether ‘the

plaintiff pleads itself out of court.’” Vasquez v. Ind. Univ. Health, Inc., 40 F.4th 582,

588 (7th Cir. 2022) (citing Xechem, Inc. v. Bristol-Myers Squibb Co., 372 F.3d 899,

902 (7th Cir. 2004)). An affirmative defense, timeliness is normally “not properly

resolved at the Rule 12[(c)] stage.” Vasquez, 40 F.4th at 588.

         Deere says the States’ civil penalties claims are time-barred, noting that each

state imposes a four (or six) year limitations period. Dkt. 110 at 29. The States allege

that Deere’s monopolistic conduct has been ongoing “for decades,” so Deere concludes

that their claims are untimely. Id. Deere’s right that “[a]n antitrust cause of action

accrues and the statutes begin to run when a defendant commits an act that injures

a plaintiff’s business.” Id. (citing Vasquez, 40 F.4th at 588). But the limitations

period “runs from the most recent injury caused by the defendants’ activities, rather

than from the violation’s inception.” Xechem, Inc., 372 F. 3d at 902. As the Xechem

Court explained, “[t]hat it may be too late to complain” about decades-old injuries,

“does not imply that it is too late to complain about” more recent—or continuing—

ones. Id.




                                            26
 Case: 3:25-cv-50017 Document #: 152 Filed: 06/09/25 Page 27 of 27 PageID #:3007




      The States allege that Deere continues to violate antitrust laws, charging

supracompetitive prices and unlawfully restricting access to repair services. Dkt. 138

at 30 (citing dkt. 44 ¶¶ 11, 12, 117). Assuming that’s true, the States’ claims aren’t

barred, because “[e]ach discrete act with fresh adverse consequences starts its own

period of limitations.” Xechem, Inc., 372 F.3d at 902. So, the States don’t plead

themselves out of court, and the Court won’t dismiss the claims as time-barred. Deere

is free to assert a statute of limitations defense later if necessary and appropriate.

Conclusion

      For the reasons above, the Court denies Deere’s Motion for judgment on the

pleadings.




Entered: June 9, 2025                          By:__________________________

                                                      Iain D. Johnston
                                                      U.S. District Judge




                                          27
